                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 22-03438-EPB
LOUISE LENORE LEVY                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 02, 2022                                               Form ID: 309A                                                             Total Noticed: 32
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 04, 2022:
Recip ID                   Recipient Name and Address
db                     +   LOUISE LENORE LEVY, 10425 N 48TH DR, GLENDALE, AZ 85302-1805
16722447               +   KENNETH EISEN, 777 E MISSOURI AVE #103, PHOENIX, AZ 85014-2855
16722452               +   MISSION BANK, 101 2ND ST #350, SAN FRANCISCO, CA 94105-3669
16722457               +   SURRAJ MEDICAL ASSOCIATES, 9401 W THUNDERBIRD RD #155, PEORIA, AZ 85381-4238
16722459                   VALLET ARTHRITIS CARE, 13943 N 915T AVE #1, PEORIA, AZ 85381

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: BDABIRDSELL
                                                                                        Jun 03 2022 02:58:00      DAVID A. BIRDSELL, 216 N. CENTER, MESA,
                                                                                                                  AZ 85201-6629
smg                        EDI: AZDEPREV.COM
                                                                                        Jun 03 2022 02:58:00      AZ DEPARTMENT OF REVENUE,
                                                                                                                  BANKRUPTCY & LITIGATION, 1600 W.
                                                                                                                  MONROE, 7TH FL., PHOENIX, AZ 85007-2650
16722431               + Email/Text: Support@adastrarecoveryservicesinc.com
                                                                                        Jun 02 2022 23:11:00      AD ASTRA RECOVERY SE, 7330 W 33RD ST
                                                                                                                  NORTH SUITE 118, WICHITA, KS 67205-9370
16720752                   EDI: ATLASACQU
                                                                                        Jun 03 2022 02:58:00      Atlas Acquisitions LLC, 492C Cedar Lane, Ste
                                                                                                                  442, Teaneck, NJ 07666
16722432               + Email/Text: bankruptcy@axcess-financial.com
                                                                                        Jun 02 2022 23:11:00      AXCSSFN/CNGO, 7755 MONTGOMERY RD
                                                                                                                  #4, CINCINNATI, OHIO 45236-4291
16722433               + EDI: CAPITALONE.COM
                                                                                        Jun 03 2022 02:58:00      CAPITAL ONE BANK, PO BOX 31293, SALT
                                                                                                                  LAKE CITY, UT 84131-0293
16722434               ^ MEBN
                                                                                        Jun 02 2022 23:11:48      CBA COLLECTION BUREAU, 25954 EDEN
                                                                                                                  LANDING RD 1ST FLOOR, HAYWARD, CA
                                                                                                                  94545-3837
16722435                   Email/PDF: bncnotices@becket-lee.com
                                                                                        Jun 02 2022 23:18:52      CONN CREDIT CORP, BOX 2358,
                                                                                                                  BEAUMONT, TX 77704-2358
16722436               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Jun 02 2022 23:18:35      CREDIT ONE BANK, 6801 S CIMARRON RD,
                                                                                                                  LAS VEGAS, NV 89113-2273
16722437                   Email/Text: karmenta@deliveryfinancial.com
                                                                                        Jun 02 2022 23:11:00      DELIVERY FINANCIAL SERVICES, 3710 W
                                                                                                                  GREENWY RD #1, PHOENIX, AZ 85053
16722438               + Email/Text: electronicbkydocs@nelnet.net
                                                                                        Jun 02 2022 23:12:00      DEPARTMENT OF EDUCATION NELNET, 121
                                                                                                                  S 13TH ST, LINCOLN, NE 68508-1904
16722439                   EDI: DISCOVER.COM
                                                                                        Jun 03 2022 02:58:00      DISCOVER BANK, PO BOX 15316,
                                                                                                                  WILMINGTON, DE 19850-5316
16722440               + EDI: BLUESTEM
                                                                                        Jun 03 2022 02:58:00      FINGERHUT, 6250 RIDGEWOOD RD, SAINT
                                                                                                                  CLOUD, MN 56303-0820



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District/off: 0970-2                                               User: admin                                                            Page 2 of 3
Date Rcvd: Jun 02, 2022                                            Form ID: 309A                                                        Total Noticed: 32
16722443              + EDI: AMINFOFP.COM
                                                                                   Jun 03 2022 02:58:00     FIRST PREMIER BANK, 3820 N LOUISE AVE,
                                                                                                            SIOUX FALLS, SD 57107-0145
16722444              + Email/Text: bankruptcy@gurstel.com
                                                                                   Jun 02 2022 23:11:00     GURSTEL LAW FIRM, 9320 EAST RAINTREE
                                                                                                            DR, SCOTTSDALE, AZ 85260-2098
16722445              + Email/Text: bknotice@healthcareinc.com
                                                                                   Jun 02 2022 23:12:00     HEALTHCARE COLLECTIONS, 2432 W
                                                                                                            PEORIA AVE $4-1060, PHOENIX, AZ
                                                                                                            85029-4797
16722446                 EDI: JEFFERSONCAP.COM
                                                                                   Jun 03 2022 02:58:00     JEFFERSON CAPITAL, 16 MCCLELLAND RD,
                                                                                                            SAINT CLOUD, MN 56303
16722448              ^ MEBN
                                                                                   Jun 02 2022 23:13:37     KIA MOTORS FINANCE, 10550 TALBERT
                                                                                                            AVE PO 20000382, FOUNTAIN VALLEY, CA
                                                                                                            92708-6031
16722449                 Email/Text: PBNCNotifications@peritusservices.com
                                                                                   Jun 02 2022 23:11:00     KOHLS, PO BOX 3115, MILWAUKEE, WI
                                                                                                            53201-3115
16722450              + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Jun 02 2022 23:18:45     MERRICK BANK, PO BOX 9201, BETHPAGE,
                                                                                                            NY 11804-9001
16722451              + Email/Text: bankruptcydpt@mcmcg.com
                                                                                   Jun 02 2022 23:11:00     MIDLAND CREDIT MANAGEMENT, 350
                                                                                                            CAMINO DEL LA REINA #100, SAN DIEGO.
                                                                                                            CA 92108-3007
16722453              ^ MEBN
                                                                                   Jun 02 2022 23:13:17     NCB MANAGEMENT SER, ONE ALLIED DR,
                                                                                                            TREVOSE, PA 19053-6945
16722454              + Email/Text: bankruptcy@oportun.com
                                                                                   Jun 02 2022 23:11:00     OPORTUN/PROGRESO FIN, 3201 DALLAS
                                                                                                            PKWY #700, FRISCO, TX 75034-9573
16722455                 EDI: PRA.COM
                                                                                   Jun 03 2022 02:58:00     PORTFOLIO RECOVERY, 120 CORPORATE
                                                                                                            BLVD #100, NORFOLK, VA 23502
16719446              + EDI: RECOVERYCORP.COM
                                                                                   Jun 03 2022 02:58:00     PRA Receivables Management, LLC, PO Box
                                                                                                            41021, Norfolk, VA 23541-1021
16722456                 Email/Text: bankruptcy@rsico.com
                                                                                   Jun 02 2022 23:11:00     RSI ENTERPRISES, 5440 W NORTHERN AVE,
                                                                                                            GLENDALE, AZ. 85301
16722458              + Email/Text: bankruptcydepartment@tsico.com
                                                                                   Jun 02 2022 23:12:00     TRANSWORLD SYSTEMS, 2235 MERCURY
                                                                                                            WAY #275, SANTA ROSA, CA 95407-5463

TOTAL: 27


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr              *P++          ATLAS ACQUISITIONS LCC, 492C CEDAR LANE SUITE 442, TEANECK NJ 07666-1713, address filed with court:, Atlas
                              Acquisitions LLC, 492C Cedar Lane, Ste 442, Teaneck, NJ 07666
cr              *+            PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541-1021

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.




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District/off: 0970-2                                              User: admin                                                            Page 3 of 3
Date Rcvd: Jun 02, 2022                                           Form ID: 309A                                                        Total Noticed: 32

Date: Jun 04, 2022                                        Signature:          /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 2, 2022 at the address(es) listed below:
Name                             Email Address
DAVID A. BIRDSELL
                                 ecf@azbktrustee.com az15@ecfcbis.com

U.S. TRUSTEE
                                 USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 2




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Information to identify the case:

Debtor 1:
                      LOUISE LENORE LEVY                                         Social Security number or ITIN:   xxx−xx−3155
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of Arizona                       Date case filed for chapter:        7     5/27/22

Case number:           2:22−bk−03438−EPB

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     LOUISE LENORE LEVY

2.        All other names used in the aka LOUISE LENORE GINNETTI
          last 8 years

3.      Address                                  10425 N 48TH DR
                                                 GLENDALE, AZ 85302

4.      Debtor's attorney                        LOUISE LENORE LEVY                                   Contact phone _____________
                                                 10425 N 48TH DR                                      Email: LOUISELEVY0412@GMAIL.COM
        Name and address                         GLENDALE, AZ 85302

5.      Bankruptcy trustee                       DAVID A. BIRDSELL                                    Contact phone 480−644−1080
                                                 216 N. CENTER                                        Email: ecf@azbktrustee.com
        Name and address                         MESA, AZ 85201
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor LOUISE LENORE LEVY                                                                                         Case number 2:22−bk−03438−EPB


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                 Office Hours:
                                                230 North First Avenue, Suite 101                              8:30 am − 4:00 pm Monday−Friday
    Documents in this case may be filed at this Phoenix, AZ 85003−1727
    address. You may inspect all records filed
    in this case at this office or online at                                                                   Contact Phone: (602) 682−4000
    pacer.uscourts.gov.
                                                                                                               Date: 6/2/22

7. Meeting of creditors                          July 5, 2022 at 08:30 AM                                      Trustee: DAVID A. BIRDSELL
                                                                                                               Call in number: 866−561−0509
    Debtors must attend the meeting to be        BY TELEPHONE                                                  Passcode: 6370277
    questioned under oath. In a joint case,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       The meeting may be continued or adjourned
                                                 to a later date. If so, the date will be on the
                                                 court docket.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge                     Filing deadline: 9/6/22
                                               or to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize
                                                 an exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe that the law does not authorize
                                                 an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                 the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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